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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


D’ANDREA WINCHESTER                 *     CASE NO. 2:19-cv-01944
                                    *
        VERSUS                      *     JUDGE MILAZZO
                                    *
STATE OF LOUISIANA, ET AL           *     MAGISTRATE JUDGE CURRAULT
                                    *
*****************************************************************************

                                            ORDER

       Considering Plaintiff’s Motion to Dismiss and finding it well taken:

       IT IS ORDERED that Plaintiff’s Motion to Dismiss is GRANTED and all claims and

demands of plaintiff, D’Andrea Winchester, against defendant, the State of Louisiana, through the

Orleans Parish Criminal District Court, be and the same are hereby DISMISSED WITH

PREJUDICE, all parties to bear their own costs.

       New Orleans, Louisiana, this 27th day of July, 2020.


                                            _______________________________________
                                                  JUDGE JANE TRICHE MILAZZO
